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 SO ORDERED.
 SIGNED this 5 day of December, 2018.




                                                 _____________________________________________
                                                  Joseph N. Callaway
                                                  United States Bankruptcy Judge


 ___________________________________________________________________



                          UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                GREENVILLE DIVISION

  IN RE:                                                            CASE NO.

  DANIEL ACOSTA                                                     18-04905-5-JNC
                                                                    CHAPTER 7

          DEBTOR
                                ORDER DISMISSING SHOW CAUSE
         This matter is before the court on the Order to Appear and Show Cause for Failure to Attend
 341 Meeting of Creditors, issued on November 20, 2018 (D.E. 13) (the “Show Cause Order”). A
 hearing was noticed for and held on December 5, 2018 in Greenville, North Carolina. The debtor did
 not attend the hearing. Mr. Allen C. Brown, counsel for the debtor, did appear at the hearing.
         Mr. Brown represented at the hearing that the debtor has not been in contact with him for some
 time. Mr. Brown has not been able to locate Mr. Acosta since the missed Section 341 Meeting. Debtor’s
 counsel requested at the hearing that the court issue a date for a second 341 Meeting, due to the
 communication issues between counsel and client. The court will grant that request with the condition
 that should Mr. Acosta fail to appear again, absent a recorded valid excuse such as a medical matter,
 the case will be dismissed.
         Accordingly, the Show Cause Order is DISMISSED subject to condition. A new 341 Meeting
 of Creditors in this case is set and noticed for on January 3, 2019, at 9:30AM in the 341
 Meeting Room, 150 Reade Circle, Greenville, North Carolina. Mr. Acosta is directed to appear at
 that hearing. Should he fail to attend the re-scheduled 341 Meeting without being excused in advance,
 this chapter 7 case shall be dismissed without further notice or hearing.
                                       END OF DOCUMENT
